Case 2:05-cV-02201-BBD-tmp Document 8 Filed 08/18/05 Page 1 of 6 Page|D 7

UNITED sTATEs DIsTRICT CoURT mo B"' -- --- D-G»
FoR THE WESTERN DISTRICT oF TENNESSEE 95 AUG ,8 m 6: uh
WESTERN DIvIsIoN
}HO}.,J.§S t.'

UNITED sTATEs oF AMERICA CE'E,FSYS»J¢';,S l`l"t»TCOUm
upon the relation and md " ?;£'L`{PHIS
for the use of the

TENNESSEE vALLEY AUTHORITY

Piaimiff

v. Civil Action No. 05 2201 D-P

TREE-REMOVAL RIGHTS WITH
RESPECT TO LAND IN FAYETTE
COUNTY, TENNESSEE

DOUBLE D ESTATES, a Tennessee
General Partnership
Defendants

 

 

JUDGMENT AND ORDER DISBURSING FUNDS

 

This action came on to be considered, and it appears to the Court, as
evidenced by the signatures below, that the parties have agreed to resolve this
action as hereinafter provided.

lt is, therefore, Ordered and Adjudged that:

l. The Defendant shall recover of the Plaintiff $4,200 as full
compensation for the taking of the easement and right-of-way herein condenmed,
Which amount has been deposited by the Plaintiff with the registry of this Court

in this action.

/`
Thts document entered on the docket sheet in compliance f \
/ '

with ama se and/or term FRCP on <5?' /5)“05 1 @

Case 2:05-cV-02201-BBD-tmp Document 8 Filed 08/18/05 Page 2 of 6 Page|D 8

2. The vesting of title in the United States of Arnerica, free of all
liens, claims, and encumbrances, as evidenced by the Declaration of Taking
filed herein on March 15, 2005, is hereby fully and finally confirmed With
respect to the easement and right-of-way described in Exhibit A attached hereto
and made a part hereof (said description being the same as in Exhibit A
attached to the Complaint and Declaration of Taking filed herein).

3. The Clerk of this Court is authorized and directed to draw a check
on the funds on deposit in the registry of this Court in the amount of $4,200
payable to Charles H. Dennis, Jr., and Cole Dennis, in full satisfaction of this
Judgment and Order Disbursing Funds, and to mail said check to
Mr. Charles H. Dennis, Jr., 4237 Blackheath Drive, Memphis, Tennessee

381 5.

Cl/D ,9

Case 2:05-cV-02201-BBD-tmp Document 8 Filed 08/18/05 Page 3 of 6 Page|D 9

4. The Clerk of this Court shall furnish to the Plaintiff a certified
copy of this Judgment and Order Disbursing Funds Which shall serve as a

muniment of title.

rhis /7 day of dzouw¢- ,2005.

    

United Sta es District Judge

We hereby approve and consent
to the entry of this document

MM
Edwin W. Small

Assistant General Counsel
Tennessee Valley Authority

400 West Summit Hill Drive
Knoxville, Tennessee 37902~1401
Tennessee BPR No. 012347
Telephone 865-632-3021
Facsimile 865 -632-67 l 8

Attorney for Plaintiff

DOUBLE D ESTATES

c/o Mr. Charles H. Dennis, Jr.
4237 Blackheath Drive
Memphis, Tennessee 381£5

By: %»6~$</@2-»~"0

 

H. /d/-`;?
Title: §¢Q;€,¢F _
Defendant

003741238

Case 2:05-cV-02201-BBD-tmp Document 8 Filed 08/18/05 Page 4 of 6 Page|D 10
TRACT NO. SJCTG-4A-CR

Tree-removal rights with respect to land located in Fayette County, State of
Tennessee, and described in a deed recorded in Book D660, page 812, in the office
of the Register of Fayette County, Tennessee, which description is incorporated
herein by reference and made a part hereof, said rights consisting of the perpetual
right to remove, cut down, destroy, and/or otherwise dispose of any trees on said
land which in falling could come within five feet of any transmission line structure
or conductor (the structures and conductors being on and over adjacent land as
hereinafter described). Plaintiff shall remain liable for any direct physical damage
to said land and fences thereon resulting directly from operations by and on behalf
of the Plaintiff in the exercise of said rights. The land affected by said tree-
removal rights and the location of the transmission line on the adjacent land are
shown on a map entitled “South Jackson-Cordova Transrnission Line Tap to
Gallaway,” drawing LW-3093, sheet P14AA, R.2, which map is incorporated
herein by reference and made a part hereof The portion of said map which shows
the affected portion of said land and the centerline of the transmission line location
on the adjacent land is attached to the Declaration of Tal<ing filed herein, the
location of the centerline of said transmission line and the west line of the land
affected by said tree removal rights, which lies east of and adjacent to the eastern
property line of lane H. Mitchell and John A. Hodges, Co-Trustees of the Alfred
A. Hodges Family Trust, et al. (hereinafter “the Alfred A. Hodges Family Trust”),
and is located in the Hickory Withe Corporate Limits of the Seventh Civil District
of Fayette County, State of Tennessee, being further described as follows:

TRACT NO. SJCTG-4A-CR

Beginning at the southwest corner of the property affected by said tree-removal
rights, which corner is located at a point 80.75 feet right of the centerline of the
transmission line location at survey station 18+10.12, the said point being an iron
pin with cap which is a common corner in the lands of Double D Estates, a
Tennessee General Partnership (hereinafter “Double D Estates”), David A. Irby,
et ux., and the Alfred A. Hodges Family Trust; thence, with the west line of the
land of Double D Estates, in a northerly direction 820 feet, more or less, to a point,
said point being a T-post at the northwest corner of the lands of Double D Estates
and being a common corner in the lands of Double D Estates, the Alfred A.
Hodges Farnily Trust, and others, the said point being 163.15 feet right of the
centerline of the location at survey station 26+42.40, and the bearing and distance
of the centerline of the transmission line location on the adjacent land from survey
station 18+10. 12 to survey station 26+42.40 being N. 1° 27' 34" W., 832.28 feet.

EXHIBIT A
PAGE l OF 2 PAGES

Case 2:05-cV-02201-BBD-tmp Document 8 Filed 08/18/05 Page 5 of 6 Page|D 11
TRACT NO. SJCTG-4A-CR

Recording Information: Defendant/landowner as of the date of the filing

of the Declaration of Taking - Double D Estates (Deed Book D660, page 812).
Tax map 082, parcel 120.03.

EXHIBIT A
PAGE 2 OF 2 PAGES

 

UNITED STATES DlSTRlCT OURT- WESTERNDISTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02201 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Philip .l Pfeifer

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Edwin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Philip .l Pfeifer

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Double D. Estates
4237 Blackheath Drive
l\/lemphis7 TN 38125

Edwin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Honorable Bernice Donald
US DISTRICT COURT

